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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                       :
               Plaintiff,                       :
                                                :
           v.                                   :       Civ. No. 16-5376
                                                :
MARK K. ISHMAEL,                                :
              Defendant.                        :
                                                :

                                           ORDER

       AND NOW, this 14th day of April, 2017, upon consideration of Plaintiff’s Motion for

Service by Posting Property, Certified Mail, and Publication (Doc. No. 9) and all related

submissions, it is hereby ORDERED that the Motion (Doc. No. 9) is DENIED without

prejudice. See Olympic Steel, Inc. v. Pan Metal & Processing, LLC, No. 11-6938, 2012 WL

682381, at *4 (E.D. Pa. Mar. 12, 2012) (“[W]ith respect to the ‘reasonably calculated to provide

notice’ prong, ‘the plaintiff must specify the newspapers in which he intends to publish notice’

so we can determine whether the proposed service by publication is reasonably calculated to

reach the defendant.” (quoting Barbosa v. Dana Capital Grp., Inc., No. 07-1724, 2009 WL

902339, at *7 (E.D. Pa. Mar. 31, 2009))); Barbosa, 2009 WL 902339, at *7 (“A showing that the

method of service requested is calculated to notify the defendant of the action is an essential

component of any supporting affidavit.” (citation omitted)).

       IT IS FURTHER ORDERED that Plaintiff may renew its Motion no later than

Monday, April 17, 2017 at 12:00 noon.


                                                               AND IT IS SO ORDERED.

                                                               /s/ Paul S. Diamond
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                                                               Paul S. Diamond, J.
